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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                         No. 14-1029V
                                    Filed: January 15, 2016

*************************                                  UNPUBLISHED
SANDRA and REUBEN CALIXTO,                  *
Parents of D.C., a minor,                   *
                                            *              Special Master Hamilton-Fieldman
                      Petitioners,          *
                                            *
v.                                          *              Attorneys’ Fees and Costs;
                                            *              Reasonable Amount Requested to
SECRETARY OF HEALTH                         *              which Respondent Does Not Object.
AND HUMAN SERVICES,                         *
                                            *
                      Respondent.           *
*************************
Edward Kraus, Law Offices of Chicago Kent, Chicago, IL, for Petitioners.
Adriana Teitel, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION 1

       On October 23, 2014, Sandra and Reuben Calixto (“Petitioners”) filed a petition for
compensation on behalf of their son, D.C., under the National Childhood Vaccine Injury Act of
1986, 42 U.S.C. §§ 300aa-1 et seq. (2006) (“Vaccine Act”). Petitioners alleged that the
administration of a Hepatitis B (“Hep B”) vaccine on April 5, 2012 caused D. C. to suffer from
pancytopenia and severe transfusion-dependent aplastic anemia. On December 4, 2015, the
undersigned issued a decision dismissing the petition.

       On January 14, 2016, the parties filed a Stipulation of Facts Concerning Attorneys’ Fees
and Costs. Pursuant to their Stipulation, the parties have agreed to an award of $23,350.00 in
attorneys’ fees and costs. In accordance with General Order Number 9, Petitioners’ counsel
represents that Petitioners have not incurred any out-of-pocket litigation costs in pursuit of their
claim.
1
 Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 and note (2006)). In accordance with
Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review,
the undersigned agrees that the identified material fits within the requirements of that provision,
such material will be deleted from public access.
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       The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to
42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $23,350.00, in the
form of a check made payable jointly to Petitioners and Petitioners’ counsel, Edward
Kraus.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 2

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




2
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.




                                                2
